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                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                       :
                                               :
                v.                             :      Case No. 1:21-cr-191 (JEB)
                                               :
RYAN SCOTT ZINK,                               :
                                               :
                        Defendant.             :


        UNOPPOSED MOTION TO CLARIFY OR, ALTERNATIVELY, EXTEND
           THE DUE DATE FOR THE GOVERNMENT’S RESPONSE TO
                    DEFENDANT’S PRETRIAL MOTION

        The United States of America respectfully requests that the Court clarify or, in the

alternative, extend the date by which the government must respond to the defendant’s “motion for

disclosure of all undercover agents, Antifa activists, and confidential human sources within the

sphere of defendants [sic] alleged conduct,” which was filed on June 6, 2023 (ECF No. 51). On

April 4, 2023, the Court ordered that the parties file (i) any motion in limine by June 12, 2023; (ii)

any response to those motions in limine by July 3, 2023; and (iii) any reply by July 17, 2023. On

June 6, 2023, as noted, the defendant filed a “motion for disclosure of all undercover agents, Antifa

activists, and confidential human sources within the sphere of defendants [sic] alleged conduct.”

(ECF No. 51). Because the defendant’s motion does not appear to be a motion in limine, out of an

abundance of caution, the government respectfully requests that the Court clarify that the deadline

for the government’s response to this motion, too, is July 3, 2023—the same date as for the motions

in limine filed in this case.

        In the alternative, the government respectfully requests that the Court extend the due date

for the government’s response to this motion to and including July 3, 2023. Good cause would

exist for such an extension because, in addition to this case, since the defendant’s motion was filed
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on June 6, I have been and will be responsible for several competing professional obligations,

including the following:

              I prepared a draft of the government’s brief in opposition to certiorari in Eric

               Grzywinski v. United States, No. 22-7237 (U.S.), which is due on or before July 3,

               2023; and

              I have been engaged in pretrial and trial preparations in United States v. David

               Lesperance et al., No. 21-cr-575-JDB (D.D.C), which is set for trial on July 10,

               2023.

       Counsel for the defendant, per Roger Roots, has advised that the defendant does not oppose

the relief sought in this motion.

       Accordingly, the government respectfully requests that the Court grant this motion and that

the due date for the government’s response to the defendant’s pending motion (ECF No. 51) be set

for July 3, 2023.

Dated June 20, 2023.


                                         Respectfully submitted,

                                         MATTHEW M. GRAVES
                                         United States Attorney
                                         D.C. Bar No. 481052

                                    By: /s/ Francesco Valentini
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